          Case 3:20-cv-02155-LB Document 252 Filed 05/20/22 Page 1 of 3




              UNITED STATES DISTRICT COURT
                      Northern District of California
FOR THE DISTRICT OF ___________________________________________
             Form 1. Notice of Appeal from a Judgment or Order of a
                           United States District Court

U.S. District Court case number:                3:20-CV-02155-LB

      Notice is hereby given that the appellant(s) listed below hereby appeal(s) to
the United States Court of Appeals for the Ninth Circuit.

Date case was first filed in U.S. District Court:                      3/30/2020

Date of judgment or order you are appealing:                           4/21/2022

Docket entry number of judgment or order you are appealing:                              250
Fee paid for appeal? (appeal fees are paid at the U.S. District Court)
X Yes        No        IFP was granted by U.S. District Court
List all Appellants (List each party filing the appeal. Do not use “et al.” or other abbreviations.)
 Judith C. Cohen




Is this a cross-appeal?          Yes        X No
If yes, what is the first appeal case number?
Was there a previous appeal in this case?                    Yes        X No
If yes, what is the prior appeal case number?
Your mailing address (if pro se):




City:                                         State:                  Zip Code:

Prisoner Inmate or A Number (if applicable):

Signature        /s/ Ari Y. Brown                                       Date          5/19/2022

     Complete and file with the attached representation statement in the U.S. District Court
                    Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 1                                                                                          Rev. 12/01/2021
         Case 3:20-cv-02155-LB Document 252 Filed 05/20/22 Page 2 of 3




                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
                        Form 6. Representation Statement
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form06instructions.pdf
Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
Name(s) of party/parties:
 Judith C. Cohen


Name(s) of counsel (if any):
 Ari Y. Brown
 John Giust


Address:      3909 47th Ave. South, Seattle, WA 98118
Telephone number(s): 206-412-9320
Email(s): abrownesq@gmail.com
Is counsel registered for Electronic Filing in the 9th Circuit?                            Yes     X No

Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
separately represented parties separately.)
Name(s) of party/parties:
Caitlin Brice, Heddi N. Cundle, Angela Doyle, Isabelle Gmerek, Kristen
Hartmann, Peter Hirshberg, M.F. and his parent Therese Jimenez, Lisa T.
Johnston, Oak Life Church, Saint Paulus Lutheran Church, Stacey Simins
Name(s) of counsel (if any):
Tina Wolfson, esq



Address:     10728 Lindbrook Dr. Los Angeles, CA 90024
Telephone number(s): 310-474-9111
Email(s):      twolfson@ahdootwolfson.com


To list additional parties and/or counsel, use next page.
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                                1                                        New 12/01/2018
         Case 3:20-cv-02155-LB Document 252 Filed 05/20/22 Page 3 of 3




Continued list of parties and counsel: (attach additional pages as necessary)
Appellants
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Is counsel registered for Electronic Filing in the 9th Circuit?                               Yes     No
Appellees
Name(s) of party/parties:
 Zoom Video Communications Inc.

Name(s) of counsel (if any):
 Michael Graham Rhodes, Esq. Cooley LLP


Address:     3 Embarcadero Center, 20th Floor, San Francisco, CA 94111
Telephone number(s): 415-693-2000
Email(s):      rhodesmg@cooley.com

Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
                  Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                               2                                         New 12/01/2018
